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 9   Attorneys for Defendants
     QUALITY SYSTEMS, INC. and NEXTGEN
10   HEALTHCARE INFORMATION SYSTEMS, LLC
11
                             UNITED STATES DISTRICT COURT
12
            CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
13
     TRACI WOLBERT,                  )              CASE NO.: SACV16-00009 JLS (DTBx)
14                                   )
15            Plaintiff,             )              DEFENDANTS’ MOTION TO
                                     )              TRANSFER VENUE
16       vs.                         )
17                                   )              Hearing Date:     April 1, 2016
     QUALITY SYSTEMS, INC. NEXTGEN )                Time:             2:30 p.m.
18   HEALTHCARE INFORMATION          )              Ctrm.:            10A
19   SYSTEMS, and DOES 1 through 10, )
     INCLUSIVE,                      )              Complaint Filed: December 3, 2015
20                                   )              Trial Date:      None Set
21            Defendants.            )
                                     )
22
           TO THE HONORABLE COURT, AND TO PLAINTIFF:
23
           PLEASE TAKE NOTICE that on April 1, 2016, at 2:30 p.m., or as soon thereafter
24
     as counsel may be heard in Courtroom 10A of the above-entitled Court, Defendants
25
     QUALITY SYSTEMS, INC. and NEXTGEN HEALTHCARE INFORMATION
26
     SYSTEMS, LLC will and hereby do move this Court for an Order transferring the venue
27
     of the above-captioned action to the United States District Court for the Eastern District
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     Case No.: 16-CV-00009                      1        DEFENDANTS’ NOTICE OF MOTION AND
                                                                MOTION TO TRANSFER VENUE
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 1   of Pennsylvania.
 2             Plaintiff TRACI WOLBERT’s (“Plaintiff”) action against Defendants has its nexus
 3   in the Eastern District of Pennsylvania and should be transferred there for the
 4   convenience of the Parties and witnesses, and to promote the interest of justice. In brief:
 5   (1) venue in this matter is proper in the Eastern District of Pennsylvania pursuant to 28
 6   U.S.C. 1391; (2) Plaintiff resides in Pennsylvania; (3) all of the alleged harm occurred in
 7   Pennsylvania; (4) nearly all of the witnesses reside in or near Pennsylvania and (5) nearly
 8   all of the physical evidence, to the extent any exists, is located in Pennsylvania.
 9             This Motion is made following the conference of counsel pursuant to Local Rule 7-
10   3 which took place on January 27, 2016.
11             This Motion is based upon this Notice, the accompanying Memorandum of Points
12   and Authorities, the Declaration of Andrew D. La Fiura, and all pleadings and papers on
13   file herein and such further oral and documentary evidence as may be presented in any
14   reply brief or at the hearing on this Motion.
15
16   Dated: February 24, 2016                 JACKSON LEWIS P.C.

17
18                                            By:        /s/ Andrew D. La Fiura
                                                         Andrew D. La Fiura
19                                                       Andrew.lafiura@jacksonlewis.com
20                                            Attorneys for Defendants
21                                            QUALITY SYSTEMS, INC. and NEXTGEN
                                              HEALTHCARE INFORMATION SYSTEMS,
22                                            LLC
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     4827-8880-5422, v. 1
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     Case No.: 16-CV-00009                           2         DEFENDANTS’ NOTICE OF MOTION AND
                                                                      MOTION TO TRANSFER VENUE
